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 5   Attorney for Plaintiff Yelena Lebedchik,
     on her own behalf and on behalf of others
 6   similarly situated

 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                             (SACRAMENTO)
11

12
     YELENA LEBEDCHIK, on her own behalf                  Case No.:
13
     and on behalf of others similarly situated,         COMPLAINT FOR DAMAGES
14
                                                         CLASS AND COLLECTIVE ACTION
15
                            Plaintiffs,
16
            vs.                                          1)     Violation of the Fair Labor Standards
17
     PACIFIC BELL TELEPHONE                                     Act (FLSA)
18
     COMPANY, A California Corporation;                  2)     Violation of California Labor Code
19
     AT&T, INC., a Delaware Corporation,                 3)     Violation of Business and Professions
20
                            Defendants.                         Codes § 17200 (Unfair Competition
21
                                                                Law)
22
     ___________________________________/                AVERAGE DAMAGE PER PLAINTIFF:
23                                                       $ 20,000 (ESTIMATE)

24                                                       JURY TRIAL DEMANDED

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 1                                            INTRODUCTION

 2   1.       Plaintiff Yelena Lebedchik (“Plaintiff”) brings this action against her joint employers

 3   Pacific Bell Telephone Company and A T & T, Inc. on her own behalf and on behalf of others

 4   similarly situated, for violations of the Fair Labor Standards Act (FLSA). 29 U.S.C. § 201, et

 5   seq, the California Labor Code and Industrial Welfare Commission (IWC) Wage Orders, and the

 6   California Unfair Business Practices Act (California Business and Professions Code §§ 17200, et

 7   seq.).

 8

 9   2.       Plaintiff and other similarly situated employees who opt in to this action (“the FLSA

10   class” or “the class”) are current and former employees who worked as Customer Service

11   Representatives of Pacific Bell and A T &T. and are not exempt from the provisions of the

12   FLSA.

13

14   3.       Plaintiff on behalf of herself, and all other similarly situated employees, seeks to recover:

15   unpaid wages; unpaid overtime compensation; unpaid hours worked; compensation for time

16   work performed for benefit of Defendants; and, compensation for lost or denied rest and meal

17   breaks. In addition to the named Plaintiff, claims are being made on behalf of other similarly

18   situated persons. That is, claims are being made on behalf of Plaintiff and all other current and

19   former Customer Service Representatives employed by Defendants during the four(4) year prior

20   to the filing of this Complaint, who are, or were, required, expected, or in fact engaged in work

21   15 to 30 minutes prior to the commencement of their assigned shifts, for the benefit of

22   Defendants with out compensation. Plaintiff claims on her own behalf and on behalf of others

23   similarly situated , that she and others were required to come to work early to prepare for work,

24   to start up their computers, to log on to systems, or otherwise prepare for work as they were

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 1   trained to do by Defendants, were ordered to do Defendants, and/or were compelled to by

 2   Defendants out of fear of disciplinary action if they were not “up and running” as the

 3   commencement of their assigned shift. In addition, Plaintiff, and other similarly situated

 4   persons, are expected to stay past their shift to complete pending customer service matters, to

 5   turn off the computers and systems, etc. This overtime is documented on Defendants’ own

 6   computers system (e.g.,the time logged on and off), yet Plaintiff, and other similarly situated

 7   persons, did not receive overtime compensation for this work.. In addition, Plaintiff and/or other

 8   similarly situated persons were denied meal and rest break time as a penalty for not complying

 9   with “adherence” standard (e.g. time on the computer systems).

10

11   4.      Claims are being made on behalf of similarly situated persons employed at any time

12   within the last four (4) years preceding the commencement of this action.

13

14                   ALLEGATIONS FOR CLASS AND COLLECTIVE ACTION

15

16   5.     Plaintiff brings the First Cause of Action for violation of the FLSA as a collective action

17   pursuant to FLSA, 29 U.S.C. §216(b). Plaintiff brings these claims on behalf of all non-exempt

18   employees of Defendant, including those misclassified by Defendant as exempt from the FLSA,

19   who were, are, or will be employed during the period the of four (4) years prior to the

20   commencement of this action through the date of judgment of this action, who have not been

21   fully compensated for all work performed, time spent, and activities conducted for the benefit of

22   the Defendant. Plaintiff estimates that the average damage per plaintiff, to date, is approximately

23   $20,000 (+/-)

24

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 1   6.      Plaintiff’s claims for violations of the FLSA may be brought and maintained as an

 2   “opt-in” collective action pursuant to § 16 ( b ) of the FLSA, for all claims asserted by Plaintiff

 3   for the class, because the claims of Plaintiff are similar to the claims of the members of the class.

 4

 5   7.      Members of the class are similarly situated, as they have substantially similar job

 6   requirements and provisions and are subject to common practice, policy or plan that requires

 7   them to perform work in excess of legal limits without overtime compensation.

 8

 9   8.      Defendants’s practices are in a direct violation of the FLSA and California law. Plaintiff

10   on behalf of herself, and all other similarly situated employees, seeks compensation and credit

11   for all unrecorded and uncompensated work time, liquidated and/or other damages as permitted

12   by law, and attorney fees and costs.

13

14                                    JURISDICTION AND VENUE

15   9.      This Court has federal question jurisdiction in this action pursuant to 28 U.S.C. § 1331

16   and 29 U..S.C. §216 ( b ). This Court has supplemental jurisdiction over Plaintiff’s California

17   subclass state-law claims pursuant to 28 U.S.C. § 1367.

18

19   10.     Venue is proper in this district pursuant to 28 U.S.C. §1391 ( b ) and ( c ). Plnaitff is

20   informed and believes that members of the putative class reside in the Northern District of

21   California.

22

23                                               PARTIES

24   11.     Plaintiff Yelena LEBEDCHIK is, and at all time material hereto is a resident of the State

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 1   of California and was employed by Defendants Pacific Bell and AT&T as a Customer Service

 2   Representative.

 3

 4   12.     Plaintiff is informed and believes that Defendant Pacific Bell Telephone Company

 5   (hereinafter ”Pacific Bell), is a California Corporation organized and existing pursuant to the

 6   laws of the State of California. Plaintiff is informed believes that Pacific Bell is headquartered

 7   in San Francisco, California and is owned and operated by Defendant AT&T, Inc.

 8

 9   13.     Plaintiff is informed and believes that Defendant AT&T, INC. (hereinafter ”AT&T”), is a

10   Delaware Corporation organized and does business in the State of California.. Plaintiff is

11   informed believes that AT&T owns and operates Pacific Bell and is a joint employer of Plaintiff

12   and other similarly situated persons.

13

14   14.     At all relevant times Plaintiff was employed by Defendants.

15

16   15.     Plaintiff is informed and believes that Defendant PACIFIC BELL and Defendant AT&T

17   are joint of employers of Plaintiff. Plaintiff is informed and believes , and thereon alleges, that

18   each and all of the acts and omissions alleged herein were performed by, and or attributed to, all

19   Defendants, each as acting by and through their agents and employees, and or under the direction

20   and control of each of the other defendants, and that said acts and failures to act were within the

21   course and scope of said direction control. Plaintiff is informed and believes that Defendant, and

22   each of them, are agent of each other.

23

24   16.     In addition to the named Plaintiff, claims are being made on behalf of other similarly

25              COMPLAINT FOR VIOLATIONS OF THE FLSA, CALIFORNIA LABOR CODE, ETC.
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 1   situated persons. That is, all Customer Service Representatives employed by Defendants in the

 2   last four (4) years preceding the commencement of this action.

 3

 4   17.     As a direct and legal result of the unlawful acts fo Defendants, and each of them, Plaintiff

 5   herself, and other similarly situated persons, suffer and continue to suffer from loss of earnings

 6   in amounts as yet to be ascertained, but subject to proof at trial.

 7

 8                   ALLEGATIONS FOR CLASS AND COLLECTIVE ACTION

 9

10   18.     Plaintiff brings the First Cause of Action for violation of the FLSA as a collective action

11   pursuant to Fair Labor Standards Act , 29 U.S.C. §216(b). Plaintiff brings these claims on

12   behalf of all non-exempt employees of Defendants, including those misclassified by Defendant

13   as exempt from the FLSA, who were, are, or will be employed during the period the of four (4)

14   years prior to the commencement of this action through the date of judgment of this action, who

15   have not been fully compensation for all work performed, time spent, and activities conducted

16   for the benefit of the Defendant. Plaintiff estimates that the average damage per plaintiff, to date,

17   is approximately $20,000 per employee.

18

19   19.     Plaintiff’s claims for violations of the FLSA may be brought and maintained as an “opt-

20   ion” collective action pursuant to § 16 ( b ) of the FLSA, for all claims asserted by Plaintiff for

21   the class, because the claims of Plaintiff are similar to the claims of the members of the class.

22

23   20.     Members of the class are similarly situated, as they have substantially similar job

24   requirements and provisions and are subject to common practice, policy or plan that requires

25              COMPLAINT FOR VIOLATIONS OF THE FLSA, CALIFORNIA LABOR CODE, ETC.
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 1   them to perform work in excess of legal limits without overtime compensation.

 2

 3   21.     Plaintiff brings the remainder of her claims for relief for violations of California law as a

 4   class actions allegations pursuant to Fed.R.Civ.P. Rule 23. Plaintiff brings these claims on

 5   behalf of all non-exempt Customer Service Representatives and persons who were misclassified

 6   as exempt but who performed the duties of a Customer Service Representatives, who were

 7   employed by Defendants four (4) years prior to the prior to the commencement of this action

 8   through the date of judgment of this action.

 9

10   22.     This action is appropriately suited as class action under Rule 23 because:

11           --      The potential claim is a significant number because Plaintiff is informed an

12                   believes that there are approximately 100 to 5000 non-exempt current and former

13                   employees of Defendants who have been, are or will be employed by Defendant

14                   four (4) years prior to the prior to the commencement of this action through the

15                   date of judgment of this action.

16           --      The action involves common questions of law and fact to the potential class

17                   because the action focuses on Defendants systematic course of illegal payroll

18                   practices or policies which were applied to Customer Service Representatives in

19                   violation of the California Industrial Welfare Commission Wage Orders, the

20                   California Labor Code, and the California Business and Professions Code which

21                   prohibits practices from arising form such violations.

22           --      The claims of the Plaintiff are typical of the class because Defendants subjected

23                   all of its Customer Service Representatives to the identical violations of the

24                   California Industrial Welfare Commission Wage Orders, the California Labor

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 1                   Code a and the California Business and Profession Code which prohibits unfair

 2                   business practices arising from such violations.

 3           --      Plaintiff is able to fairly and adequately represent the interests of the all the

 4                   members of the class because of it is in their best interests ro prosecute the claims

 5                   alleges herein to obtain full compensation due to them for all services rendered

 6                   and hours worked.

 7                   .

 8                                      FACTUAL ALLEGATIONS

 9

10   23.     Plaintiff and other similarly situated employees who opt in to this action (“the FLSA

11   class” or “the class”) are current and former employees of Defendants and are not exempt from

12   the provisions of the FLSA.

13

14   24.     Plaintiff on behalf of herself, and all other similarly situated employees, seeks to recover:

15   unpaid wages; unpaid overtime compensation; unpaid hours worked; compensation for time

16   work performed for benefit of Defendants; and, compensation for lost or denied rest and meal

17   breaks. In addition to the named Plaintiff, claims are being made on behalf of other similarly

18   situated persons. That is, claims are being made on behalf of Plaintiff and all other current and

19   former Customer Service Representatives employed by Defendants during the four (4) year prior

20   to the filing of this Complaint, who are, or were, required, expected, or in fact engaged in work

21   15 to 30 minutes prior to the commencement of their assigned shifts, for the benefit of

22   Defendants with out compensation. Plaintiff claims on her own behalf and on behalf of others

23   similarly situated , that she and others were required to come to work early to prepare for work,

24   to start up their computers, to log on to systems, or otherwise prepare for work as they were

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 1   trained to do by Defendants, were ordered to do Defendants, and/or were compelled to by

 2   Defendants out of fear of disciplinary action if they were not “up and running” as the

 3   commencement of their assigned shift. In addition, Plaintiff, and other similarly situated

 4   persons, are expected to stay past their shift to complete pending customer service matters, to

 5   turn off the computers and systems, etc. This overtime is documented on Defendants’ own

 6   computers system (e.g.,the time logged on and off), yet Plaintiff, and other similarly situated

 7   persons, did not receive overtime compensation for this work.. In addition, Plaintiff and/or other

 8   similarly situated persons were denied meal and rest break time as a penalty for not complying

 9   with “adherence” standard (e.g. time on the computer systems).

10

11

12                                     FIRST CLAIM FOR RELIEF

13                         VIOLATION OF FAIR LABOR STANDARDS ACT

14

15   25.      Plaintiffs realleges and incorporates the foregoing paragraphs as though fully set forth

16   herein

17

18   26.      At all relevant times Defendant has engaged and continues to engage in wilful practice of

19   causing Plaintiff, and all other similarly situated employees, to work with out compensation and

20   to be denied meal and rest breaks.. That is, Plaintiff and all other current and former Customer

21   Service Representatives employed by Defendants during the four (4) years prior to the filing of

22   this Complaint, were required, expected, or in fact engaged in work 15 to 30 minutes prior to

23   the commencement of their assigned shifts, for the benefit of Defendants with out compensation.

24   Plaintiff and others similarly situated were required to come to work early to prepare for work,

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 1   to start up their computers, to log on to systems, or otherwise prepare for work as they were

 2   trained to do by Defendants, were ordered to do Defendants, and/or were compelled to by

 3   Defendants out of fear of disciplinary action if they were not “up and running” as the

 4   commencement of their assigned shift. In addition, Plaintiff, and other similarly situated

 5   persons, are expected to stay past their shift to complete pending customer service matters, to

 6   turn off the computers and systems, etc. This overtime is documented on Defendants’ own

 7   computers system (e.g.,the time logged on and off), yet Plaintiff, and other similarly situated

 8   persons, did not receive overtime compensation for this work.. In addition, Plaintiff and/or other

 9   similarly situated persons were denied meal and rest break time as a penalty for not complying

10   with “adherence” standard (e.g., time on the computer systems).

11

12   27.     Plaintiff is informed and believes that Defendants willfully failed to make, keep, and

13   preserve appropriate records with respect to each of its employees sufficient to determine the

14   wages, hours and other conditions and practices of employment in violation of FLSA, including

15   29 U.S.C. §§ 211 ( c ) and 215 ( a ).

16

17   28.     Plaintiff, on behalf of herself and the class, seeks damages in the amount of the respective

18   unpaid straight-time and overtime compensation, plus liquidated damages as provided by the

19   FLSA, 29 U.S.C. §§211( c ) and 215 ( a ).

20

21   29.     Plaintiff on behalf of herself and the class seeks damages in the amount of the respective

22   unpaid overtime compensation, plus liquidated damages as provided by the FLSA, 29 U.S.C.

23   §216 ( b ), and such other legal and equitable relief as the Court deems just and proper.

24

25              COMPLAINT FOR VIOLATIONS OF THE FLSA, CALIFORNIA LABOR CODE, ETC.
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 1   30.     Plaintiff, on behalf of herself and the class, seeks recover of reasonable attorneys’ fees

 2   and costs associated with this lawsuit as provided by FLSA, 29 U.S.C.§216 ( b ).

 3

 4                                   SECOND CLAIM FOR RELIEF

 5                                 SUPPLEMENTAL STATE CLAIM

 6          FAILURE TO PAY COMPENSATION UNDER CALIFORNIA INDUSTRIAL

 7           WELFARE COMMISSION ORDERS AND CALIFORNIA LABOR CODE

 8

 9   31.     Plaintiff hereby realleges and incorporates by reference as though set fully herein, the

10   allegations contained in the previous paragraphs.

11

12   32.     Pursuant to Industrial Welfare Commission Orders, California Code of Regulations, and

13   California Labor Code §§ 200, 218, .226, and 1198, for three (3) years preceding the filing of

14   this lawsuit Defendant were required to compensate Plaintiff for all time worked including

15   overtime, which is calculated at one and one-half (1.5) time the regular rate of pay for hours

16   worked in excess of eight (8) hours per day and/or forty (40) hours per week, and for the first

17   eight (8) hour on the seventh consecutive work day; with double time afer eight (8) hours on the

18   seventh day of any work week, or after 12 hours on any work day.

19

20   33.     Pursuant to California Labor Code sections 200, 500, 510 and 1198 and California Code

21   of Regulations, in or after February 2003, Defendant were required to compensate Plaintiffs for

22   all time worked including overtime, which is calculated at one and one-half (1.5) time the

23   regular rate of pay for hours worked in excess of eight (8) hours per day and /or forty (40) hours

24   per week and for the first eight (8) hours on the seventh consecutive work day; with double time

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 1   after eight(8) hours on the seventh day of any work week, or after twelve (12) hours in any

 2   workday.

 3

 4   34.     Plaintiff and another similarly situated persons are or were non-exempt employees entitle

 5   to the protections of the Industrial Welfare Commission Orders, California Code of Regulations,

 6   and Labor Code §§ 200, 226, 500, 510 and 1198. During the course of plaintiffs employment,

 7   Defendant failed to compensate Plaintiff for all time worked including overtime hours worked as

 8   required under the aforementioned labor regulations.

 9

10   35.     Under the aforementioned wage orders, states and regulation, Plaintiff and other similarly

11   situated persons are entitled to one and one (1.5) times and/or double her regular rate of pay for

12   overtime worked based on appropriate calculations.

13

14   36.     Defendant’s violation California law as it knowledge and willfully refused to perform

15   their obligations to compensated Plaintiff for all wages earned and all hours worked. As a direct

16   result, Plaintiff has suffered and continues to suffer substantial losses related to the use and

17   enjoyment of such wages, lost interest ion such wages, and expenses and attorneys fees in

18   seeking to compel Defendant to fully perform its obligations under state law, all to her damage

19   in amounts according to proof at time of trial but in amount in excess of the jurisdiction of this

20   Court. Defendant committed the actions alleged herein knowingly and willfully, with the

21   wrongful and deliberate intention of injuring Plaintiff for an improper motives amounting to

22   malice, and in conscious disregard of Plaintiff’s rights. Plaintiffs is entitled to recover loss

23   wages, overtime compensation and penalties

24

25              COMPLAINT FOR VIOLATIONS OF THE FLSA, CALIFORNIA LABOR CODE, ETC.
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 1   37.     As a proximate result of the aforementioned violations Plaintiff and other similarly

 2   situated persons have claims in an amount according to proof at time of trial, but in an amount in

 3   excess of the jurisdiction of this Court

 4

 5   38.     Defendant’s conduct describe here violated California Labor Code §§ 200, 203, 218.5,

 6   226, 558, 1194, Plaintiffs are entitled to recover the unpaid balance of overtime compensation

 7   Defendants owe Plaintiffs, plus interest, penalties, attorneys’ fees, expenses, and costs of suit.

 8

 9   39.     Plaintiff further claims on her behalf and on behalf of other similarly situated that

10   Defendant and each of them willfully refused and continues to refuse to pay Plaintiff overtime

11   and meal /rest breaks in a timely manner , as required by California Labor Code § 203.

12   Therefore, Plaintiff required on her behalf and on behalf of others similarly situated that

13   restitution and penalties by awarded pursuant to California Labor Codes § 203.

14

15   40.     Wherefore, Plaintiff require relief as hereinafter sought.

16

17                                    THIRD CLAIM FOR RELIEF

18                                 SUPPLEMENTAL STATE CLAIM

19               VIOLATIONS OF BUSINESS AND PROFESSIONS CODE § 17200

20

21   41.     Plaintiff hereby realleges and incorporates by reference as though set fully forth herein,

22   the previous allegations.

23

24   42.     By violating the foregoing statutes and regulations, Defendant’s acts constituted an

25              COMPLAINT FOR VIOLATIONS OF THE FLSA, CALIFORNIA LABOR CODE, ETC.
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 1   unlawful business practice under Business and Professions Codes § 17200, et seq.

 2

 3   43.     Defendant violations of California wage and hour laws constitute a business practice

 4   because it was done repeatedly over a significant period of time, and in a systematic manner to

 5   the detriment of Plaintiff and others similarly situated.

 6

 7   44.     For the four (4) years preceding the filing of this action, Plaintiff and other similarly

 8   situated persons suffered damages and request damages and/or restitution of all monies and

 9   profits to be disgorged from Defendant in and amount according to proof at time of trial, but in

10   excess of the jurisdiction of the Court.

11

12

13                                        PRAYER FOR RELIEF

14           WHEREFORE, Plaintiff on her behalf and on behalf of others similarly situated persons,

15   pray for judgement as follows:

16           1.      For nominal damages;

17           2.      For compensatory damages;

18           3.      For liquidated damages;

19           4.      For all damages allow under Fair Labors Standards Act;

20           5.      Restitution of all monies due Plaintiff, and disgorged profits form the unlawful

21                   business practices of Defendant;

22           4.      For waiting time penalties pursuant to Labor Code § 203

23           5.      For penalties pursuant to Cal. Labor Code §§ 226, 558, 1194, and 1194.2;

24           6.      For interest accrued to date;

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 1           7.       For cost of suit and expenses incurred pursuant to FLSA and Cal. Labor Code §§

 2                    218.5, 226 and 1194

 3           8.       For reasonable attorneys’ fees pursuant to FLSA and Labor Code §§ 218.5, 226,

 4                    and 1194;

 5           9.       For penalties pursuant to California Labor Code §§ 512 and 558;

 6           10.      For waiting time penalties pursuant to California Labor Code § 203

 7           10.      For all such other and further relief that the Court may deem just and proper.

 8

 9           Dated: February 26, 2006                       SHEA LAW GROUP

10

11                                                  By:     _/s/ Mary J Shea___________

12                                                          Mary J. Shea

13                                                          Attorney for Plaintiff YELENA

14                                                          LEBEDCHIK, individually, and on behalf

15                                                          of all other similarly situated persons.

16   ///

17   ///

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19   ///

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 1

 2                              DEMAND FOR JURY TRIAL

 3     Plaintiff on behalf of herself and others similarly situated hereby demands a jury trial.

 4     Dated: February 26, 2007              SHEA LAW GROUP

 5                                           By:     _/s/ Mary J Shea____

 6                                                   Mary J. Shea

 7                                                   Attorney for Plaintiff YELENA

 8                                                   LEBEDCHIK, individually, and on behalf

 9                                                   of all other similarly situated persons

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